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         3. Identify yourself each time you speak.

         4. Be mindful that, unlike in a courtroom setting, interrupting can render both

speakers unintelligible.

         5. Mute when not speaking to eliminate background noise, i.e., dog barking,

kids playing, sirens, papers shuffling, emails pinging, drinking, breathing. It all

comes through. This will also prevent interruptions.

         6. Avoid voice-activated systems that don’t allow the speaker to know when

someone else is trying to speak and they cut off the beginning of words.

         7. Spell proper names.

         8. Have judge confirm reporter is on the line.

         9. If someone hears beeps or musical chimes, that means someone has either

come in or left the conference. Please be aware that the judge may need to clarify

that the reporter has not lost the line. (This has happened before, and the reporter had

to dial back in and tell the judge the last thing that the court reporter transcribed.)

                                                SO ORDERED.

Dated:        White Plains, New York
              January 11, 2021
                                                Hon. Nelson S. Román, U.S.D.J.
